

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-66,804-01






EX PARTE SHANE LUCAS WINN, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. S-05-3274-CR-HC IN THE 36th DISTRICT COURT


FROM SAN PATRICIO COUNTY





	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of possession of
cocaine with intent to deliver and sentenced to ten years' imprisonment.  He did not appeal his 
conviction. 

	Applicant contends that his  plea was involuntary because counsel promised him that, if he
pled guilty, he would receive shock probation and counsel failed to take the proper steps to ensure
that Applicant was eligible for consideration of shock probation pursuant to Article 42.12, § 6 of the
Code of Criminal Procedure.  Applicant has alleged facts that, if true, might entitle him to relief. 
Strickland v. Washington, 466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim.
App. 2000).  In these circumstances, additional facts are needed.  As we held in Ex parte Rodriguez,
334 S.W.2d 294, 294 (Tex. Crim. App. 1997), the trial court is the appropriate forum for findings
of fact.  The trial court may use any means set out in Tex. Code Crim. Proc. art. 11.07, § 3(d).  In 
this case, the trial court shall obtain an affidavit from counsel, or hold a hearing addressing
Applicant's claim.  Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	  The trial court shall make findings of fact and conclusions of law in regard to Applicant's
claim that his plea was involuntary.   The trial court shall also make any other findings of fact and
conclusions of law that it deems relevant and appropriate to the disposition of Applicant's claim for
habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 



Filed:   February 28, 2007

Do not publish


